Case 16-11046-mdc     Doc 72    Filed 06/30/20 Entered 06/30/20 09:22:57   Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   ________________________________________________________________________
   In Re:                                    :
          Joseph Berti                       :     Case No.:16-11046MDC
                                             :
   Debtor(s)                                 :     Chapter 13



                      PRAECIPE TO WITHDRAW DOCKET #49


   TO THE COURT:

          On behalf of the Debtor, kindly withdraw Docket #71.




   Dated: June 30, 2020                      /s/ Brad J. Sadek, Esquire
                                             Brad J. Sadek, Esquire
                                             Sadek and Cooper
                                             “The Philadelphia Building”
                                             1315 Walnut Street, #502
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                                             215-545-0008
